         Case 2:12-cv-08388-AB-FFM Document 324 Filed 05/20/21 Page 1 of 6 Page ID #:7822
 Name and address:
                           Amy L. Wells, Esq.
                          Wells Law Office, Inc.
                         201 N. Garland Ct., 2908
                            Chicago, IL 60601

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
 OMAR VARGAS, individually, and on behalf of a class                         CASE NUMBER
                                                                                             2:2012-CV-08388 AB (FFMX)
                                                         Plaintiff(s),
                 v.
 FORD MOTOR COMPANY                                                                AMENDED APPLICATION OF NON-
                                                                                 RESIDENT ATTORNEY TO APPEAR IN A
                                                      Defendant(s),                  SPECIFIC CASE PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    sup Street Addressnses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
         pleted Applic
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION

 Wells, Amy L.
 Applicant's Name (Last Name, First Name & Middle Initial)                                       check here if federal government attorney □

 Wells Law Office, Inc.
 Firm/Agency Name

 201 N. Garland Court                                                    (773) 762-9104
                                                                         Telephone Number                    Fax Number
 2908

Chicago, IL 60601                                                                         amywells@equaljusticelaw.com
 City, State, Zip Code                                                                             E-mail Address

I have been retained to represent the following parties:

                                                           thePlaintiff(s)
 Opt-outs and those pursuing repurchase in accordance with □                            □ Defendant(s) □ Other:
 terms of the class action settlement in Vargas.              Plaintiff(s)
                                                                         □              □ Defendant(s) □ Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name of Court                         Date of Admission          Active Member in Good Standing? (if not, please explain)
 Ohio Supreme Court                                          11/2004              Yes
 Supreme Court of Illinois                                   11/2014              Yes



G-64 (09/20)                 APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                           Page 1 of 3
         Case 2:12-cv-08388-AB-FFM Document 324 Filed 05/20/21 Page 2 of 6 Page ID #:7823
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
        Case Number                                    Title of Action                             Date of Application      Granted / Denied?
 NA




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
 NA




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated May 18, 2021                                     Amy L. Wells
                                                                      Applicant's Name (please type or print)


                                                                      Applicant's Signature


G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 2 of 3
         Case 2:12-cv-08388-AB-FFM Document 324 Filed 05/20/21 Page 3 of 6 Page ID #:7824

SECTION III - DESIGNATION OF LOCAL COUNSEL
   Resnick, Allen-Michel D.
Designee's Name (Last Name, First Name & Middle Initial)
 CONSUMER LEGAL REMEDIES, APC
Firm/Agency Name
 The Resnick Building                                              833-428-9222                            213-210-2196
 331 North Beverly Drive, Suite 2                                 Telephone Number                         Fax Number
Street Address                                                      mresnick@clrattorney.com
 Beverly Hills, California, 90210                                 Email Address
City, State, Zip Code                                               245215
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated    May 20, 2021                               Allen-Michel D. Resnick
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




G-64 (09/20)                APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                     Page 3 of 3
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                          ATTORNEY REGISTRATION AND DISCIPLINARY COMMISSION
                                                of the
                                      SUPREME COURT OF ILLINOIS

       One Prudential Plaza                                                                        3161 West White Oaks Drive, Suite 301
130 East Randolph Drive, Suite 1500                                                                        Springfield, IL 62704
    Chicago, Illinois 60601-6219                                                                      (217) 546-3523 (800) 252-8048
  (312) 565-2600 (800) 826-8625                                                                             Fax (217) 546-3785
        Fax (312) 565-2320

            Amy Lavonne Wells
            201 N. Garland Court
            2908
            Chicago, IL 60601


                                                                   Chicago
                                                                   Tuesday, May 18, 2021

                                                                   In re: Amy Lavonne Wells
                                                                   Admitted: 10/28/2014
                                                                   Attorney No. 6316452


            To Whom It May Concern:

                     The records of the Clerk of the Supreme Court of Illinois and of this office indicate that the attorney
            named above was admitted to the practice of law in Illinois; is currently registered on the master roll of
            attorneys entitled to practice law in this state; and has never been disciplined; and is in good standing

                                                                   Very truly yours,
                                                                   Jerome Larkin
                                                                   Administrator



                                                                   Lisa Medina

                                                                   Lisa Medina
                                                                   Deputy Registrar




            lm
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                THE SUPREME COURT of OHIO
                       CERTIFICATE OF GOOD STANDING



          I, GINA WHITE PALMER, Director of the Attorney Services Division of the
     Supreme Court of Ohio, do hereby certify that I am the custodian of the records
     of the Office of Attorney Services of the Supreme Court and that the Attorney
     Services Division is responsible for reviewing Court records to determine the status
     of Ohio attorneys. I further certify that, having fulfilled all of the requirements for
     admission to the practice of law in Ohio,


                                     Amy Lavonne Wells
                               Attorney Registration No. 78247


     was admitted to the practice of law in Ohio on November 8, 2004; has registered as
     an active attorney pursuant to the Supreme Court Rules for the Government of
     the Bar of Ohio; is in good standing with the Supreme Court of Ohio; and is
     entitled to practice law in this state.


                                            IN TESTIMONY WHEREOF, I have
                                            subscribed my name and affixed the seal of
                                            the Supreme Court, this 17th day of May,
                                            2021.


                                            GINA WHITE PALMER
                                            Director, Attorney Services Division




                                            _______________________________________
                                            Bradley J. Martinez
                                            Attorney Services Counsel




     *78247*
     No. 2021-05-18-1
     Verify by email at GoodStandingRequests@sc.ohio.gov
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